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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEBRASKA
                                  OMAHA DIVISION



       JOSEPH CLARK,                           Hon. _ _ _ _ _ __
       General Delivery
       117 5th Avenue, S.W.
       Minot, North Dakota 58701                     Hon. _ _ _ _ _ __

             PLAINTIFF,
                                               Case no.   ~ : 2 Y uV I 0
        V.


       ALLIED MIDWEST, INC.,
       828 North 133rd Street
       Omaha, Nebraska 68154

        and                                    COMPLAINT FOR MONETARY,
                                               INJUNCTIVE AND
       MIDWEST INN, INC.,                      DEC LARATORY RELIEF
       4 706 South 108th Street
       Omaha, Nebraska 68137

        and

       DMK INVESTMENTS, LLC                    JURY TRIAL DEMANDED
       2523 Farnam Street
       Omaha, Nebraska 68131

        and

       BLACKSTONE HOTEL, LLC
       3814 Farnam Street, #201
       Omaha, Nebraska 68131

        and                                                    RECEIVED
       OM SRI SAi, LLC                                            .JAN l O2024
       3962 South 184th Avenue                                         CLERK
       Omaha, Nebraska 68130                                   U.S. DISTRICT COURT
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  and

 CHICAGO STREET HOTEL ASSOCIATION, LLC
 801 East Second Avenue, #200
 Coralville, Iowa 52241

     DEFENDANTS.


                                   I. Jurisdiction

    This honorable court retains jurisdiction to adjudicate this case pursuant to 28
 U.S.C. 1331 and 1343. Jurisdiction is further conferred pursuant to 42 U.S,C.
 12181, the Americans with Disabilities Act.

                                       II.Venue

     Venue is proper in the District of Nebraska, Omaha Division, because all of
 the subject properties are located within this court's territorial jurisdiction.

                                   Ill. Complaint

 1. Each defendant listed herein owns and operates a hotel that is a place of
 public accommodation as defined by the Americans with Disabilities Act and the
 rules and regulations implementing that act. 28 C.F.R. 36.201(aj and 36.104.

 2. As the owner of a place of public accommadation, each defendant listed
 herein is responsible for complying with the Americans with Disabilities Act.

 3. Section 2, Chapter 242 of the Americans with Disabilities Act mandates that
 swimming pools at places of public accommodation have at least one pool lift;
 two (2) pool lifts is the pool is 300 linears or more. Said section and chapter
 further requires one lift for each hot tub.

 4. Planning a trip to Omaha with a friend, and looking for a hotel that could
 accommodate this plaintiff, this plaintiff contacted each hotel listed below so that
 he could book a room. However, as described below, he was advised that hotels
 listed below are not in compliance with the Americans with Disabilities Act.

 5. The defendant Allied Midwest, LLC, owns and operates the Sonesta ES
 Suites located at 6990 Dodge Street in Omaha. They have no lift for the pool.

 6. The defendant, Midwest Inn, Inc., owns and operates the Best Western
 hotel located at 4706 South 108th Street in Omaha. They do not have a lift for
 the pool or the hot tub.
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     7. The defendant, DMK Investments, LLC, owns and operates the Holiday Inn
     located at 1420 Cuming Street in Omaha. They do not have a lift for the pool or
     hot tub.

     8. The defendant, Blackstone Hotel, LLC, owns and operates the Kimpton
     Cottonwood Hotel located at 302 South 36th Street in Omaha. They have no lift
     for the hot tub.

     9. The defendant, OM SRI SAi, LLC, owns and operates the Quality Inn located
     at 9505 South 142nd Street in Omaha. They have no lift for the pool.

     10. The defendant, Chicago Street Hotel Association, LLC, owns and
     operates the Home 2 Suites hotel located at 17889 Chicago Street in Omaha.
     They have no lift for the hot tub.

                                      IV. Jury Demand

        Plaintiff respectfully demands a trial by jury by the maximum allowable
     number of jurors on all issues triable by jury.

                                    V. Relief Requested

         WHEREUPON, this plaintiff respectfully requests the following relief:

         DECLARATORY - a judgment declaring at the time this plaintiff commenced
     this action, each hotel listed herein was / is operating in direct violation of the
     Americans with Disabilities Act as described herein.
         INJUNCTIVE - a permanent injunction pursuant to 42 U.S.C. 12188(a)(2)
     and 28 C.F.R. 36.504(a) which orders the subject properties to bring the
     properties into compliance with the Americans with Disabilities Act by installing
     permanent pool and hot tub lifts as required by sections 242.2 and 1009.2 of the
     201 O standards which further directs the court shall retain jurisdiction for a period
     to be determined after the defendants certifies the pools and hot tubs are in full
     compliance with the Americans with Disabilities Act to ensure the defendants
     have adopted and are following an institutional policy that will in fact cause the
     defendants to remain in compliance with the Americans with Disabilities Act.
        MONETARY- a reasonable amount of attorneys fees and costs.
        FINES - this plaintiff respectfully requests this honorable court levy a fine of
     $75,000.00 for each initial violation, and $150,000.00 for any secondary
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 violation.
   OTHER - Any and all other relief this honorable court may deem just and
 proper.


                         Res ectfully submitted,


                                  Clark
                         Plainti (Pro-se)
                         General Delivery
                         117 5th Avenue, S.W.
                         Minot, North Dakota 58701
                     8:24-cv-00010-JFB-PRSE                                 Doc # 1              Filed: 01/10/24                     Page 5 of 6 - Page ID # 5
JS 44 (Rev. 08/18)                                                       CML COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Joseph Clark                                                                                                ALLIED MIDWEST, LLC, et al,


    (b) County of Residence of First Listed Plaintiff          _W_a_rd________                              County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
Pro-se, General Delivery, 117 5th Avenue, S.W., Minot, North
Dakota 58701

II. BASIS OF JURISDICTION (Placean "X"inOneBoxOnly)                                           ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ''X" in 011e Box for Plaint/
                                                                                                       (For Diversity Cases Only)                                            and One Box for Defendant)
□ I     U.S. Government             ?S 3   Federal Question                                                                     PTF           DEF                                           PTF      DEF
           Plaintiff                         (U.S. Govemme11t Not a Party)                        Citizen of This State         □ I            □    I   Incorporated or Principal Place       □ 4     □ 4
                                                                                                                                                          of Business In This State

□ 2     U.S. Government             □ 4    Diversity                                               Citizen of Another State         □     2    □    2   Incorporated and Principal Place        □   5   □   5
           Defendant                         (I11dicate Citizenship ofParties ill Item III)                                                                of Business In Another State

                                                                                                                                    □     3    □    3   Foreign Nation                          □   6   □   6


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IV NATURE OF SUIT (Place an ''X" in One Box Only)
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I          CONTRACT                                           TORTS                                                                                                                                             I
 D 110 Insurance                       PERSONAL INJURY              PERSONAL INJURY        D 625 Drug Related Seizure        D 422 Appeal 28 USC 158                       □ 375 False Claims Act
 D 120Marine                      □ 310 Airplane                  □ 365 Personal Injury -          of Property21 use 881     □ 423 Withdrawal                              □ 376QuiTam(31 USC
 □ 130 Miller Act                 □ 315 Airplane Product                 Product Liability □ 690Other                                 28USC 157                                      3729(a))
 □ 140 Negotiable Instrument                Liability             □ 367 Health Care/                                                                                       □ 400 State Reapportionment
 □ 150 Recovery of Overpayment    □ 320 Assault, Libel &                 Pharmaceutical                                           PROPERTY RIGHTS                          □ 410 Antitrust
        & Enforcement of Judgment           Slander                      Personal Injury                                     □ 820 Copyrights                              □ 430 Banks and Banking
 D 151 Medicare Act               □ 330 Federal Employers'               Product Liability                                   D 830Patent                                   □ 450 Commerce
 D 152 Recovery of Defaulted                Liability             □ 368 Asbestos Personal                                    D 835 Patent - Abbreviated                       □ 460 Deportation
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        (Excludes Veterans)       □ 345 Marine Product                    Liability                                          D 840 Trademark                                        Corrupt Organizations
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        ofVeteran's Benefits      □ 350 Motor Vehicle             □ 3 70 Other Fraud       D 710 Fair Labor Standards        D 861 HIA (1395ft)                            □ 485 Telephone Consumer
 D 160 Stockholders' Suits        □ 355 Motor Vehicle             □ 371 Truth in Lending           Act                       □ 862 Black Lung (923)                                 Protection Act
 D 190 Other Contract                      Product Liability      D 380 Other Personal     □ 720 Labor/Management            □ 863 DIWC/DIWW (405(g))                      D 490 Cable/Sat TV
 D 195 Contract Product Liability D 360 Other Personal                   Property Damage           Relations                 □ 864 SSID Title XVI                          □ 850 Securities/Commodities/
 D 196 Franchise                           Injury                 □ 385 Property Damage    □ 740 Railway Labor Act           □ 865 RSI (405(g))                                     Exchange
                                  D 362 Personal Injury -                Product Liability D 751 Family and Medical                                                        □ 890 Other Statutory Actions
                                           Medical Maloractice                                     Leave Act                                                               □ 891 Agricultural Acts
I       REAL PROPERTY                   CMLRIGHTS                  PRISONER PETITIONS D 790 Other Labor Litigation                FEDERAL TAX SillTS"                      □ 893 Environmental Matters
 D 210 Land Condenmation          D 440 Other Civil Rights          Habeas Corpus:         □ 791 Employee Retirement         C'.I 870 Taxes (U.S. Plaintiff                C'.I 895 Freedom of Information
 D 220 Foreclosure                D 441 Voting                    D 463 Alien Detainee            Income Security Act                 or Defendant)                                 Act
 D 230 Rent Lease & Ejectment     D 442 Employment                D 510 Motions to Vacate                                    D 871 IRS-Third Party                         □ 896 Arbitration
 0 240 Torts to Land              D 443 Housing/                         Sentence                                                     26USC7609                            D 899 Administrative Procedure
  □ 245 Tort Product Liability             Accommodations         □ 530 General                                                                                                     Act/Review or Appeal of
 D 290 All Other Real Property    D 445 Amer. w/Disabilities - D 535 Death Penalty         -·      IMM1GRATION                                                                      Agency Decision
                                           Employment               Other:                  □ 462 Naturalization Application                                               □ 950 Constitutionality of
                                  rlf. 446 Amer. w/Disabilities - □ 540 Mandamus & Other □ 465 Other Immigration                                                                    State Statutes
                                           Other                  D 550 Civil Rights              Actions
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V. ORIGIN (Placean "'X"inOneBoxOnly)
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VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                               DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                       75,000.00                                   JURY DEMAND:         l!( Yes    ONo
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                       (See instrnctions):
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DATE
01/07/2024
FOR OFFICE USE ONLY

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